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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Case: 1:21-mj-00195
Assigned to: Judge Faruqui, Zia M

UNITED STATES OF AMERICA : Assign Date: 2/2/2021
. Description: COMPLAINT W/ARREST WARRANT
V. : VIOLATIONS:

18 U.S.C. § 1361 & 2 (Aid and Abet Injury
or Depredation Against United States)

ETHAN NORDEAN 18 U.S.C. § 1512(c)(2)(Obstruct or
Impede Official Proceeding

Also known as “Rufio Panman”, : 18 U.S.C. § 1752(a)
: (Restricted Building or Grounds)
Defendant.
40 U.S.C. § 5104(e)(2)(D)(G)
(Violent Entry or Disorderly Conduct)
ORDER
This matter having come before the Court pursuant to the application of the United States
to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the
disclosure will result in flight from prosecution, destruction of or tampering with evidence,
intimidation of potential witnesses, and serious jeopardy to the investigation, the United States has
established that a compelling governmental interest exists to justify the requested sealing.
1. IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.
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2. IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.

Date: 2/2/2021 BakS 2021.02.02
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Zia M. Faruqui
UNITED STATES MAGISTRATE JUDGE

cc: Jason B.A. McCullough
Assistant United States Attorney
United States Attorney’s Office
555 Fourth Street, N.W.
Washington, D.C. 20530
